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Attorneys for Defendants


                 UNITED STATES BANKRUPTCY APPELLATE COURT
                            OF THE TENTH CIRCUIT



  In re:                                                     BAP Appeal No. 25-001

  LORENZO LUCIANO LOPEZ,                                       Bankr. No. 24-26705

                 Debtor.                                           Chapter 13

                                                    CREDITOR AUNTIE TUT TRUST’S
                                                    MOTION FOR A VIDEO STATUS
                                                    CONFERENCE AND MOTION TO
                                                    DISMISS IF DEBTOR LORENZO
                                                    LUCIANO LOPEZ DOES NOT APPEAR



       Pursuant to Local Rule 8013-1 creditor Auntie Tut Trust (“ATT”) files this motion

requesting a video status conference. In the event debtor and appellant (in cases 25-1 and 25-2)

Lorenzo Luciano Lopez fails to appear at said requested video status conference with proof of

identification, ATT requests dismissal of all appeals arising from Lorenzo Luciano Lopez’

bankruptcy case, case number 24-26705 filed in the United States Bankruptcy Court for the

District of Utah. The other appeals pending before this court are identified as case number 25-3,


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25-4 and 25-5, filed by Johnathan Darger as a purported interested party. In support of this

request ATT represents as follows:



                               Background/Procedural Posture

   A. Auntie Tut Trust entered into a Secured Promissory Note agreement with Johnathan

       Darger (“Darger”) on July 1, 2013 for the principal amount of $320,000. A copy of the

       promissory note is attached hereto as Exhibit A.

   B. A Trust Deed securing the promissory note was recorded with the Salt Lake County

       Recorder’s office as entry number 11676867 on July 2, 2013. A copy of the Deed of

       Trust is attached hereto as Exhibit B.

   C. The property securing the Trust Deed is located at 13887 S. Lamont Lowell Circle,

       Herriman, Utah (hereinafter the “Property”). See Exhibit A.

   D. The Property was placed in Darger’s name via Warranty Deed, entry number 11676835

       in the Salt Lake County Recorder’s Office, on July 2, 2013. A copy of the Warranty

       Deed is attached hereto as Exhibit C.

   E. On August 22, 2013, Darger transferred the Property via Warranty Deed, entry number

       11710288 in the Salt Lake County Recorder’s Office, to Ultimate Estates, LLC. A copy

       of this warranty deed is attached hereto as Exhibit D.

   F. Johnathan Darger lists himself on www.linkedin.com as the “executive manager” and

       “owner” of Ultimate Estates, LLC. A copy of the linked in printout is attached hereto as

       Exhibit E.

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G. The Utah Division of Corporations and Commercial Code shows that the Manager of

   Ultimate Estates, LLC is Ultimate Enterprise, LLC and that the address for Ultimate

   Enterprise, LLC is located at the Property. A copy of the registered principal printout

   from the Utah Department of Commerce is attached hereto as Exhibit F.

H. On October 10, 2018, Ultimate Estates, LLC, transferred the Property to Ultimate

   Enterprise, LLC via Warranty Deed, entry number 12865345, recorded in the Salt Lake

   County Recorder’s Office, signed by John Darger on behalf of Ultimate Estates. A copy

   of this deed is attached hereto as Exhibit G.

I. Mr. Darger’s payment history on the Promissory Note has been less than stellar. Only

   four payments have been made on the Promissory Note over the past five years: 1) a

   payment of $1,000 on 6/4/021; 2) a payment of $1,000 on 7/9/2021; 3) a payment of

   $500 on 11/15/2022 and 4) a payment of $500 on January 1, 2023. A copy of the

   payment history from ATT is attached hereto as Exhibit H.

J. Pursuant to the plain language of the promissory note, Mr. Darger was supposed to make

   monthly payments of $1,915.82. See Exhibit A.

K. Auntie Tut was scheduled to foreclose promissory note and deed of trust secured by the

   Property on January 30, 2024. A copy of the proof of publication of this notice is attached

   hereto as Exhibit I.

L. Darger filed a chapter 13 case in the United States Bankruptcy Court for the District of

   Utah on January 29, 2024, case number 24-20354, to stop that sale. See Docket for case

   number 24-20354 in the United States Bankruptcy Court for the District of Utah.

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M. Bankruptcy case 24-20354 was dismissed for among other things failure to comply with

   the Bankruptcy Code and failure to comply with an order from the Bankruptcy Court.

   See Docket entries 15 and 19 in case number 24-20354 in the United States Bankruptcy

   Court for the District of Utah.

N. After the dismissal of this first chapter 13 bankruptcy case, Auntie Tut Trust again tried

   to foreclose. This second attempt was scheduled for a trustee’s sale on June 5, 2024. A

   copy of the June 5, 2024 Notice of Trustee’s Sale is attached hereto as Exhibit J.

O. Mr. Darger filed a second Chapter 13 bankruptcy case on June 4, 2024, case number 24-

   22721 in the United States Bankruptcy Court for the District of Utah, stopping the second

   scheduled foreclosure sale. See docket for case number 24-22721 in the United States

   Bankruptcy Court for the District of Utah.

P. Similar to the first bankruptcy case addressed in paragraph L and M above, Darger did

   not file statements and schedules with his second chapter 13 bankruptcy petition, did not

   file a plan and did not submit a mailing matrix listing any of his creditors. The second

   bankruptcy case (24-22721) was dismissed. See dockets for cases 24-20354 and 24-

   22721 in the United States Bankruptcy Court for the District of Utah.

Q. After the dismissal of the second bankruptcy case, Auntie Tut Trust attempted a third

   time to foreclose the deed of trust secured by the Property. The sale was scheduled for

   December 31, 2024. A copy of the December 31, 2024 Notice of Trustee’s Sale is

   attached hereto as Exhibit K.




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R. For a third time, ATT’s attempted foreclosure sale was stopped by a bankruptcy filing.

   On December 30, 2024, the Property was transferred to Ultimate Enterprise, LLC and

   Lorenzo Luciano Lopez, as tenants in Commons, via Quit Claim Deed, entry number

   14330423, recorded in the Salt Lake County Recorder’s Office. John Darger signed the

   December 30, 2024 quit claim deed transferring the property to Ultimate Enterprise, LLC

   and Lorenzo Luciano Lopez. A copy of the quit claim deed is attached hereto as Exhibit

   L.

S. Mr. Lopez then filed a chapter 13 bankruptcy case stopping the foreclosure sale. Mr.

   Lopez’s bankruptcy petition was hand-delivered to the bankruptcy court by Darger. See

   Docket Entry dated December 30, 2024 for case number 24-26705 in the United States

   Bankruptcy Court for the District of Utah.

S. Mr. Darger is not an attorney and not authorized to practice law.

T. The Lorenzo Lopez bankruptcy was nothing more than a continuation of Darger’s efforts

   to stop ATT’s foreclosure against the Property:

   i.      Counsel for ATT received notice of the bankruptcy filing by Mr. Lorenzo Lopez

           via email dated December 31, 2024 and received by Mr. Sink at 10:29 a.m. (30

           minutes before the scheduled foreclosure sale). A copy of this email is attached

           hereto as Exhibit M.

   ii.     As the notice of the bankruptcy filing was received only 30 minutes before the

           scheduled foreclosure sale, Mr. Sink attended the foreclosure sale to continue the

           sale date because of the bankruptcy filing. Mr. Darger and his wife were the only

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           people at the sale. Mr. Darger was aware of the email from Mr. Lopez to Mr.

           Sink and provided Mr. Sink copies of the attachments on the email (notice of the

           bankruptcy filing by Lopez and a copy of the deed transferring the property to Mr.

           Lopez). See Declaration of Jeremy Sink attached hereto as Exhibit N.

   iii.    Mr. Lopez was not at the foreclosure sale. See Declaration of Jeremy Sink

           attached hereto as Exhibit N.

   iv.     At the foreclosure sale on December 31, 2024, Sink continued the sale date to

           January 24, 2025. See Declaration of Jeremy Sink attached hereto as Exhibit N.

U. Auntie Tut filed a motion with the United States Bankruptcy Court for the District of

   Utah on the same day the Lopez bankruptcy case was filed, requesting relief from the

   automatic stay so that the foreclosure could go forward, even if another bankruptcy case

   was filed, asserting that Mr. Darger filed the Lopez bankruptcy in bad faith. See docket

   no. 7 in bankruptcy case number 24-26705 in the United States Bankruptcy Court for the

   District of Utah.

V. Mr. Lopez did not appear at the January 14 hearing on ATT’s motion for relief from stay.

   See January 14, 2025 minute entry for case number 24-26705.

W. Mr. Darger did appear at the January 14 hearing on ATT’s motion for relief from stay.

   See January 14, 2025 minute entry for case number 24-26705.

X. The bankruptcy court granted ATT’s motion for relief and an Order Granting Auntie Tut

   Trust’s Motion for Relief from the Automatic Stay (granting in rem relief to foreclose on

   the property) was entered by the Judge Marker in the United States Bankruptcy Court for

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   the District of Utah on January 14, 2025. See docket number no. 28 in case number 24-

   26705. A copy of the order is attached hereto as Exhibit O.

Y. The continued foreclosure sale was completed on January 24, 2024 and Auntie Tut Trust

   was the successful bidder. A copy of the Recorded Trustee’s Deed is attached hereto as

   Exhibit P.

Z. Mr. Lopez requested dismissal of his bankruptcy case and the case was dismissed on

   January 14, 2025. See Docket no. 30 in case number 24-26705.

AA.        Because Mr. Lopez’ case was dismissed a meeting of creditors was not held. See

   Docket for case number 24-26705.

BB.        Although Mr. Lopez did not appear at the January 14, 2025 hearing on ATT’s

   motion for relief from stay, he purportedly filed the appeal for the above-captioned

   bankruptcy appeal. A copy of Lopez’ notice of appeal is attached hereto as Exhibit Q.

CC.        Lopez asserts that he lives in the Property. See Lopez’ address listed in Exhibit

   Q.

DD.        Darger filed a separate notice of appeal. A copy of Darger’s notice of appeal is

   attached hereto as Exhibit R.

EE. Similar to Lopez, Darger also asserts that he lives in the Property. See Exhibit R.

FF. The Bankruptcy Court found the Mr. Lopez’ bankruptcy filing was “filed by Mr. Lopez

   in bad faith. And it’s part of a scheme involving multiple bankruptcy filings to at least

   hinder or delay creditors, including Auntie Tut.” A copy of the transcript from the




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       hearing on ATT’s motion for relief is attached hereto as Exhibit S. The above quote can

       be found on page 14 lines 17-21.



                                          ARGUMENT

       The above-captioned bankruptcy proceeding was allegedly filed by Lorenzo Luciano

Lopez. The Bankruptcy found that the case was “filed by Mr. Lopez in bad faith. And it’s part

of a scheme involving multiple bankruptcy filings to at least hinder or delay creditors, including

Auntie Tut.” See Exhibit S, page 14:17-21.

       All physical appearances related to this bankruptcy proceeding have been made by

Johnathan Darger, not Mr. Lopez. Even the filing of Mr. Lopez’s bankruptcy case was

completed by Mr. Darger, not Mr. Lopez. See December 30, 2024 docket entry in case number

24-26705 (indicating the case was “hand delivered by a Johnathan Darger”).

       ATT requests that Mr. Lopez verify his identify, similar to verifying his identity at a

meeting of creditors under 11 U.S.C. 341. This verification can be completed by ordering Mr.

Lopez to appear at the United States Trustee’s office in Salt Lake City, Utah or by holding a

telephonic conference before this court ordering Mr. Lopez to appear with identification

verifying his identify.

       In the event Mr. Lopez does not appear as directed by this Court, ATT respectfully

requests that the appeals identified as BAP case numbers 25-001, 25-002, 25-003, 25-004 and

25-005 (all arising from the chapter 13 case purportedly filed by Lorenzo Luciano Lopez) be

dismissed to avoid a fraud on this court arising from a debtor who appears not to exist.

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         ATT notes that Mr. Lopez filed a notice of appearance in these cases on March 18, 2025

and requested that NO oral argument be made. ATT notes that Mr. Darger similarly requested

that no oral argument be made.

         In the event Mr. Lopez appears at a status conference and verifies his existence and that

he filed the above-captioned bankruptcy proceeding, ATT requests that he verify that the

Property subject to this appeal is property of the bankruptcy estate as Mr. Lopez has not filed a

statements and schedules in this case. Further Mr. Lopez has provided no proof of equitable

ownership of the Property as the only evidence of ownership is a quit claim deed transferring

bare legal title (see Exhibit M).

DATED this 19th day of March, 2025.

                                               KIRTON MCCONKIE


                                               /s/            Jeremy C. Sink
                                               Jeremy Sink (9916)
                                               Attorneys for Appellee Auntie Tut Trust



  CERTIFICATE OF SERVICE – BY NOTICE OF ELECTRONIC FILING (CM/ECF)

        I hereby certify that on March 19, 2025, I electronically filed the foregoing with the
United States Bankruptcy Appellate Panel of the Tenth Circuit by using the CM/ECF system. I
further certify that the parties of record in this case, as identified below, are registered CM/
ECF users and will be served through the CM/ECF system:


   •     Lon Jenkins tr ecfmail@ch13ut.org, lneebling@ch13ut.org
   •     Jeremy C. Sink jsink@kmclaw.com, mcarlson@kmclaw.com
   •     United States Trustee USTPRegion19.SK.ECF@usdoj.gov

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       By Mail:
       Johnathan Darger
       13887 Lamont Lowell Circle
       Herriman, UT 84096

       Lorenzo Luciano Lopez
       13887 Lamont Lowell Circle
       Herriman, UT 84096

       By Email:
       Johnathan Darger
       Jndarger1@gmail.com

       Lorenzo Lopez
       lorenzolucianolopez@gmail.com



All other parties registered with CM/ECF and entitled to notice in this case:

None


                                                                         /S/ Jeremy C. Sink




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                                         EXHIBIT LIST

Ex. A.     Darger Secured Promissory Note (2013.07.01)

Ex. B.     Darger Deed of Trust (2013.07.02)

Ex. C      Warranty Deed to Darger (2013.07.02)

Ex. D      Warranty Deed Darger to Ultimate Estates (2013.08.22)

Ex. E      Darger LinkedIn Profile

Ex. F      Utah.Gov - Manager of Ultimate Enterprise, LLC

Ex. G      Warranty Deed from Ultimate Estates, LLC to Ultimate Enterprise, LLC (2018.10.10)

Ex. H      Darger Mortgage Payments Through December 2024

Ex. I      Email from R. Stegman re Publication of Notice of Trustee’s Sale (2024.01.11)

Ex. J      Notice of Trustee's Sale (2024.05.08)

Ex. K      Notice of Trustee's Sale (2024.12.02)

Ex. L      Quit Claim Deed - Ultimate Enterprise to Ultimate Enterprise and Lopez)

Ex. M      Lorenzo Lopez Email re Chapter 13 Bankruptcy (2024.12.31)

Ex. N      Declaration of Jeremy Sink (2025.03.19)

Ex. O      Order Granting Motion for Relief from Stay

Ex. P      Recorded Trustee’s Dee (2025.01.24)

Ex. Q      Notice of Appeal and Statement of Election (2025.01.28)

Ex. R      Darger Notice of Appeal (2025.01.28)

Ex. S      Transcript from Motion to Dismiss Hearing held 2025.01.14
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                            EXHIBIT B
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                            EXHIBIT C
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                            EXHIBIT D
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                            EXHIBIT E
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                            EXHIBIT F
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                            EXHIBIT G
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                             Exhibit H
Darger Mortgage

          320000               initial principal
               600             number of periods for calculating periodic payment
    initial int rate                          0.06        payment                 $1,684.50
    8/1/2018 int rate                         0.08        payment                 $2,173.68
    9/10/2023 int rate                        0.15        payment                 $4,002.32

                               Payment           Interest Interest              Principal             Principal           Total remaining
                               Received          Rate     Due                   Due                   Applied             pricipal
                                                                                                                                            BAP Appeal No. 25-1




                                                                                                                          due from
                                                                                                                          borrower

      7/1/2013                                                            -                                        -           320,000.00
     7/10/2013       7/15/13            424.32        6%               473.42                                   (49.10)        320,049.10
     7/22/2013       7/22/13         $2,167.68        6%               631.33                                 1,536.35         318,512.75
     8/10/2013       8/16/13         $1,684.68        6%               994.81               689.69              689.87         317,822.88
                                                                                                                                            Docket No. 16




     9/10/2013                                        6%             1,619.59                64.91           (1,619.59)        319,442.47
    10/10/2013      10/15/13         $1,684.68        6%             1,575.33               109.17              109.35         319,333.12
    11/10/2013                                        6%             1,627.29                57.21           (1,627.29)        320,960.41
    12/10/2013      12/13/13         $1,768.72        6%             1,582.82               101.68              185.90         320,774.51
     1/10/2014        2/4/14         $1,768.72        6%             1,634.63                49.87              134.09         320,640.42
     2/10/2014       2/21/14         $1,768.72        6%             1,633.95                50.55              134.77         320,505.65
     3/10/2014       3/17/14         $1,768.72        6%             1,475.20               209.30              293.52         320,212.13
     4/10/2014                                        6%             1,631.77                52.73           (1,631.77)        321,843.90
                                                                                                                                            Filed: 03/19/2025




     5/10/2014                                        6%             1,587.18                97.32           (1,587.18)        323,431.08
     6/10/2014       6/16/14         $1,768.72        6%             1,648.17                36.33              120.55         323,310.53
     7/10/2014       7/31/14         $1,773.48        6%             1,594.41                90.09              179.07         323,131.46
     8/10/2014                                        6%             1,646.64                37.86           (1,646.64)        324,778.10
     9/10/2014                                        6%             1,655.03                29.47           (1,655.03)        326,433.13
    10/10/2014                                        6%             1,609.81                74.69           (1,609.81)        328,042.94
    11/10/2014                                        6%             1,671.67                12.83           (1,671.67)        329,714.61
                                                                                                                                            Page: 35 of 104




    12/10/2014                                        6%             1,625.99                58.51           (1,625.99)        331,340.60
     1/10/2015                                        6%             1,688.48                (3.98)          (1,688.48)        333,029.08
days late            late fees due      Cummullative
                                        Late Fees Due
                                                                                                  BAP Appeal No. 25-1




                                                    -
                                                    -   partial period - late fees not calculat
                                                    -   partial period - late fees not calculat
            -                     -                 -
                                                                                                  Docket No. 16




                31              84.22             84.22
            -                     -               84.22
                31              84.22            168.45
            -                     -              168.45
                25              84.22            252.67
            -                     -              252.67
            -                     -              252.67
                31              84.22            336.90
                                                                                                  Filed: 03/19/2025




                30              84.22            421.12
            -                     -              421.12
                21              84.22            505.35
                31              84.22            589.57
                31              84.22            673.80
                30              84.22            758.02
                31              84.22            842.25
                                                                                                  Page: 36 of 104




                30              84.22            926.47
                31              84.22          1,010.70
 2/10/2015                           6%   1,697.08    (12.58)   (1,697.08)   334,726.16
 3/10/2015                           6%   1,540.66    143.84    (1,540.66)   336,266.82
 4/10/2015                           6%   1,713.58    (29.08)   (1,713.58)   337,980.40
 5/10/2015    5/15/15     $500.00    6%   1,666.75     17.75    (1,166.75)   339,147.15
 6/10/2015    6/16/15     $500.00    6%   1,728.26    (43.76)   (1,228.26)   340,375.41
 7/10/2015    7/16/15     $750.00    6%   1,678.56      5.94      (928.56)   341,303.97
 8/10/2015                           6%   1,739.25    (54.75)   (1,739.25)   343,043.22
 9/10/2015                           6%   1,748.11    (63.61)   (1,748.11)   344,791.33
10/10/2015    10/1/15     $750.00    6%   1,700.34    (15.84)     (950.34)   345,741.67
11/10/2015   10/30/15     $750.00    6%   1,761.86    (77.36)   (1,011.86)   346,753.53
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12/10/2015   12/17/15     $750.00    6%   1,710.02    (25.52)     (960.02)   347,713.55
 1/10/2016                           6%   1,771.91    (87.41)   (1,771.91)   349,485.46
 2/10/2016    2/19/16     $750.00    6%   1,780.94    (96.44)   (1,030.94)   350,516.40
 3/10/2016                           6%   1,670.95     13.55    (1,670.95)   352,187.35
 4/10/2016    4/15/16     $750.00    6%   1,794.71   (110.21)   (1,044.71)   353,232.06
 5/10/2016                           6%   1,741.97    (57.47)   (1,741.97)   354,974.03
 6/10/2016                           6%   1,808.91   (124.41)   (1,808.91)   356,782.94
                                                                                          Docket No. 16




 7/10/2016                           6%   1,759.48    (74.98)   (1,759.48)   358,542.42
 8/10/2016                           6%   1,827.09   (142.59)   (1,827.09)   360,369.51
 9/10/2016                           6%   1,836.40   (151.90)   (1,836.40)   362,205.91
10/10/2016                           6%   1,786.22   (101.72)   (1,786.22)   363,992.13
11/10/2016                           6%   1,854.86   (170.36)   (1,854.86)   365,846.99
12/10/2016                           6%   1,804.18   (119.68)   (1,804.18)   367,651.17
 1/10/2017                           6%   1,873.51   (189.01)   (1,873.51)   369,524.68
 2/10/2017    2/15/17 $   1,932.00   6%   1,883.06   (198.56)       48.94    369,475.74
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 3/10/2017    3/17/17 $   1,685.00   6%   1,700.60    (16.10)      (15.60)   369,491.34
 4/10/2017    4/27/17 $   1,685.00   6%   1,882.89   (198.39)     (197.89)   369,689.23
 5/10/2017                           6%   1,823.12   (138.62)   (1,823.12)   371,512.35
 6/10/2017                           6%   1,893.19   (208.69)   (1,893.19)   373,405.54
 7/10/2017     7/5/17 $   1,685.00   6%   1,841.45   (156.95)     (156.45)   373,561.99
 8/10/2017    8/24/17 $   1,685.00   6%   1,903.63   (219.13)     (218.63)   373,780.62
 9/10/2017                           6%   1,904.75   (220.25)   (1,904.75)   375,685.37
                                                                                          Page: 37 of 104




10/10/2017                           6%   1,852.69   (168.19)   (1,852.69)   377,538.06
11/10/2017    11/7/17 $   1,685.00   6%   1,923.89   (239.39)     (238.89)   377,776.95
    31   84.22   1,094.92
    28   84.22   1,179.15
    31   84.22   1,263.37
-        59.22   1,322.60
-        59.22   1,381.82
-        46.72   1,428.55
    31   84.22   1,512.77
    31   84.22   1,597.00
-        46.72   1,643.72
-        46.72   1,690.44
                            BAP Appeal No. 25-1




-        46.72   1,737.17
    31   84.22   1,821.39
-        46.72   1,868.12
    29   84.22   1,952.34
-        46.72   1,999.07
    30   84.22   2,083.29
    31   84.22   2,167.52
                            Docket No. 16




    30   84.22   2,251.74
    31   84.22   2,335.97
    31   84.22   2,420.19
    30   84.22   2,504.42
    31   84.22   2,588.64
    30   84.22   2,672.87
    31   84.22   2,757.09
-          -     2,757.09
                            Filed: 03/19/2025




-          -     2,757.09
    17   84.22   2,841.32
    30   84.22   2,925.54
    31   84.22   3,009.77
-          -     3,009.77
-          -     3,009.77
    31   84.22   3,093.99
                            Page: 38 of 104




    30   84.22   3,178.22
-          -     3,178.22
12/10/2017   12/15/17 $   1,685.00   6%   1,863.01   (178.51)     (178.01)   377,954.96
 1/10/2018    1/19/18 $   1,685.00   6%   1,926.02   (241.52)     (241.02)   378,195.98
 2/10/2018                           6%   1,927.25   (242.75)   (1,927.25)   380,123.23
 3/10/2018    3/21/18 $   1,685.00   6%   1,749.61    (65.11)      (64.61)   380,187.84
 4/10/2018     5/7/18 $   1,685.00   6%   1,937.40   (252.90)     (252.40)   380,440.24
 5/10/2018    5/16/18 $   1,685.00   6%   1,876.14   (191.64)     (191.14)   380,631.38
 6/10/2018                           6%   1,939.66   (255.16)   (1,939.66)   382,571.04
 7/10/2018    6/29/18 $   1,685.00   6%   1,886.65   (202.15)     (201.65)   382,772.69
  8/1/2018                           6%   1,384.27              (1,384.27)   384,156.96
 8/10/2018     8/2/18 $   1,685.00   8%     757.79     31.62       927.21    383,229.75
                                                                                          BAP Appeal No. 25-1




 9/10/2018    8/31/18 $   1,685.00   8%   2,603.86   (430.18)     (918.86)   384,148.61
10/10/2018    10/4/18 $   1,685.00   8%   2,525.91   (352.23)     (840.91)   384,989.52
11/10/2018    11/5/18 $   1,685.00   8%   2,615.82   (442.14)     (930.82)   385,920.34
12/10/2018    12/6/18 $   1,685.00   8%   2,537.56   (363.88)     (852.56)   386,772.90
 1/10/2019     1/4/19 $   1,685.00   8%   2,627.94   (454.26)     (942.94)   387,715.84
 2/10/2019     2/5/19 $   1,685.00   8%   2,634.34   (460.66)     (949.34)   388,665.18
 3/10/2019     3/7/19 $   1,685.00   8%   2,385.23   (211.55)     (700.23)   389,365.41
                                                                                          Docket No. 16




 4/10/2019    4/11/19 $   1,685.00   8%   2,645.55   (471.87)     (960.55)   390,325.96
 5/10/2019                           8%   2,566.53   (392.85)   (2,566.53)   392,892.49
 6/10/2019    5/31/19 $   1,685.00   8%   2,669.52   (495.84)     (984.52)   393,877.01
 7/10/2019    7/18/19 $   1,685.00   8%   2,589.88   (416.20)     (904.88)   394,781.89
 8/10/2019                           8%   2,682.35   (508.67)   (2,682.35)   397,464.24
 9/10/2019                           8%   2,700.58   (526.90)   (2,700.58)   400,164.82
10/10/2019                           8%   2,631.22   (457.54)   (2,631.22)   402,796.04
11/10/2019                           8%   2,736.81   (563.13)   (2,736.81)   405,532.85
                                                                                          Filed: 03/19/2025




12/10/2019                           8%   2,666.52   (492.84)   (2,666.52)   408,199.37
 1/10/2020                           8%   2,773.52   (599.84)   (2,773.52)   410,972.89
 2/10/2020                           8%   2,792.36   (618.68)   (2,792.36)   413,765.25
 3/10/2020                           8%   2,629.96   (456.28)   (2,629.96)   416,395.21
 4/10/2020                     -     8%   2,829.21   (655.53)   (2,829.21)   419,224.42
 5/10/2020                     -     8%   2,756.54   (582.86)   (2,756.54)   421,980.96
 6/10/2020                     -     8%   2,867.16   (693.48)   (2,867.16)   424,848.12
                                                                                          Page: 39 of 104




 7/10/2020                     -     8%   2,793.52   (619.84)   (2,793.52)   427,641.64
 8/10/2020                     -     8%   2,905.62   (731.94)   (2,905.62)   430,547.26
-           -     3,178.22
-           -     3,178.22
    31    84.22   3,262.44
-           -     3,262.44
    27    84.22   3,346.66
-           -     3,346.66
    31    84.22   3,430.89
-           -     3,430.89
                  3,430.89 partial period - late fees not calculat
-         24.43   3,455.32
                                                                     BAP Appeal No. 25-1




-         24.43   3,479.76
-         24.43   3,504.19
-         24.43   3,528.63
-         24.43   3,553.06
-         24.43   3,577.49
-         24.43   3,601.93
-         24.43   3,626.36
                                                                     Docket No. 16




-         24.43   3,650.79
    30   108.68   3,759.48
-         24.43   3,783.91
-         24.43   3,808.35
    31   108.68   3,917.03
    31   108.68   4,025.71
    30   108.68   4,134.40
    31   108.68   4,243.08
                                                                     Filed: 03/19/2025




    30   108.68   4,351.77
    31   108.68   4,460.45
    31   108.68   4,569.13
    29   108.68   4,677.82
    31   108.68   4,786.50
    30   108.68   4,895.19
    31   108.68   5,003.87
                                                                     Page: 40 of 104




    30   108.68   5,112.55
    31   108.68   5,221.24
 9/10/2020                   -     8%   2,925.36     (751.68)   (2,925.36)   433,472.62
10/10/2020                   -     8%   2,850.23     (676.55)   (2,850.23)   436,322.85
11/10/2020                   -     8%   2,964.60     (790.92)   (2,964.60)   439,287.45
12/10/2020                   -     8%   2,888.47     (714.79)   (2,888.47)   442,175.92
 1/10/2021                   -     8%   3,004.37     (830.69)   (3,004.37)   445,180.29
 2/10/2021                   -     8%   3,024.79     (851.11)   (3,024.79)   448,205.08
 3/10/2021                   -     8%   2,750.63     (576.95)   (2,750.63)   450,955.71
 4/10/2021                   -     8%   3,064.03     (890.35)   (3,064.03)   454,019.74
 5/10/2021                   -     8%   2,985.34     (811.66)   (2,985.34)   457,005.08
 6/10/2021     6/4/21   1,000.00   8%   3,105.13     (931.45)   (2,105.13)   459,110.21
                                                                                          BAP Appeal No. 25-1




 7/10/2021     7/9/21   1,000.00   8%   3,018.81     (845.13)   (2,018.81)   461,129.02
 8/10/2021                   -     8%   3,133.15     (959.47)   (3,133.15)   464,262.17
 9/10/2021                   -     8%   3,154.44     (980.76)   (3,154.44)   467,416.61
10/10/2021                   -     8%   3,073.42     (899.74)   (3,073.42)   470,490.03
11/10/2021                   -     8%   3,196.75   (1,023.07)   (3,196.75)   473,686.78
12/10/2021                   -     8%   3,114.65     (940.97)   (3,114.65)   476,801.43
 1/10/2022                   -     8%   3,239.64   (1,065.96)   (3,239.64)   480,041.07
                                                                                          Docket No. 16




 2/10/2022                   -     8%   3,261.65   (1,087.97)   (3,261.65)   483,302.72
 3/10/2022                   -     8%   2,966.02     (792.34)   (2,966.02)   486,268.74
 4/10/2022                   -     8%   3,303.96   (1,130.28)   (3,303.96)   489,572.70
 5/10/2022                   -     8%   3,219.11   (1,045.43)   (3,219.11)   492,791.81
 6/10/2022                   -     8%   3,348.28   (1,174.60)   (3,348.28)   496,140.09
 7/10/2022                   -     8%   3,262.29   (1,088.61)   (3,262.29)   499,402.38
 8/10/2022                   -     8%   3,393.20   (1,219.52)   (3,393.20)   502,795.58
 9/10/2022                   -     8%   3,416.25   (1,242.57)   (3,416.25)   506,211.83
                                                                                          Filed: 03/19/2025




10/10/2022                   -     8%   3,328.52   (1,154.84)   (3,328.52)   509,540.35
11/10/2022   11/15/22     500.00   8%   3,462.08   (1,288.40)   (2,962.08)   512,502.43
12/10/2022                         8%   3,369.88   (1,196.20)   (3,369.88)   515,872.31
 1/10/2023     1/1/23    500.00    8%   3,505.11   (1,331.43)   (3,005.11)   518,877.42
 2/10/2023                  -      8%   3,525.52   (1,351.84)   (3,525.52)   522,402.94
 3/10/2023                  -      8%   3,205.98   (1,032.30)   (3,205.98)   525,608.92
 4/10/2023                  -      8%   3,571.26   (1,397.58)   (3,571.26)   529,180.18
                                                                                          Page: 41 of 104




 5/10/2023                  -      8%   3,479.54   (1,305.86)   (3,479.54)   532,659.72
 6/10/2023                  -      8%   3,619.17   (1,445.49)   (3,619.17)   536,278.89
    31   108.68   5,329.92
    30   108.68   5,438.60
    31   108.68   5,547.29
    30   108.68   5,655.97
    31   108.68   5,764.66
    31   108.68   5,873.34
    28   108.68   5,982.02
    31   108.68   6,090.71
    30   108.68   6,199.39
-         58.68   6,258.08
                             BAP Appeal No. 25-1




-         58.68   6,316.76
    31   108.68   6,425.44
    31   108.68   6,534.13
    30   108.68   6,642.81
    31   108.68   6,751.50
    30   108.68   6,860.18
    31   108.68   6,968.86
                             Docket No. 16




    31   108.68   7,077.55
    28   108.68   7,186.23
    31   108.68   7,294.91
    30   108.68   7,403.60
    31   108.68   7,512.28
    30   108.68   7,620.97
    31   108.68   7,729.65
    31   108.68   7,838.33
                             Filed: 03/19/2025




    30   108.68   7,947.02
-         83.68   8,030.70
    30   108.68   8,139.39
-         83.68   8,223.07
    31   108.68   8,331.75
    28   108.68   8,440.44
    31   108.68   8,549.12
                             Page: 42 of 104




    30   108.68   8,657.80
    31   108.68   8,766.49
 7/10/2023   -    8%   3,526.22   (1,352.54)   (3,526.22)   539,805.11
 8/10/2023   -    8%   3,667.72   (1,494.04)   (3,667.72)   543,472.83
  9/9/2023   -    8%   3,573.52                (3,573.52)   547,046.35
 9/10/2023   -   15%     224.81      203.99      (224.81)   547,271.16
10/10/2023   -   15%   6,747.18   (2,744.86)   (6,747.18)   554,018.34
11/10/2023   -   15%   7,058.04   (3,055.72)   (7,058.04)   561,076.38
12/10/2023   -   15%   6,917.38   (2,915.06)   (6,917.38)   567,993.76
 1/10/2024   -   15%   7,236.08   (3,233.76)   (7,236.08)   575,229.84
 2/10/2024   -    8%   3,908.41   (1,734.73)   (3,908.41)   579,138.25
 3/10/2024   -    8%   3,681.10   (1,507.42)   (3,681.10)   582,819.35
                                                                         BAP Appeal No. 25-1




 4/10/2024   -    8%   3,959.98   (1,786.30)   (3,959.98)   586,779.33
 5/10/2024   -    8%   3,858.28   (1,684.60)   (3,858.28)   590,637.61
 6/10/2024   -    8%   4,013.10   (1,839.42)   (4,013.10)   594,650.71
 7/10/2024   -    8%   3,910.03   (1,736.35)   (3,910.03)   598,560.74
 8/10/2024   -    8%   4,066.93   (1,893.25)   (4,066.93)   602,627.67
  9/9/2024   -    8%   3,962.48                (3,962.48)   606,590.15
 9/10/2024   -   15%     249.28     (209.44)     (249.28)   606,839.43
                                                                         Docket No. 16




10/10/2024   -   15%   7,481.58   (3,479.26)   (7,481.58)   614,321.01
11/10/2024   -   15%   7,826.28   (3,823.96)   (7,826.28)   622,147.29
12/10/2024   -   15%   7,670.31   (3,667.99)   (7,670.31)   629,817.60
                                                                         Filed: 03/19/2025
                                                                         Page: 43 of 104
30   108.68    8,875.17
31   108.68    8,983.86
               8,983.86 partial period - late fees not calculat
31   200.12    9,183.97
30   200.12    9,384.09
31   200.12    9,584.20
30   200.12    9,784.32
31   200.12    9,984.44
31   108.68   10,093.12
29   108.68   10,201.80
                                                                  BAP Appeal No. 25-1




31   108.68   10,310.49
30   108.68   10,419.17
31   108.68   10,527.86
30   108.68   10,636.54
31   108.68   10,745.22
              10,745.22 partial period - late fees not calculat
31   200.12   10,945.34
                                                                  Docket No. 16




30   200.12   11,145.46
31   200.12   11,345.57
30   200.12   11,545.69
                                                                  Filed: 03/19/2025
                                                                  Page: 44 of 104
BAP Appeal No. 25-1   Docket No. 16   Filed: 03/19/2025   Page: 45 of 104


                            EXHIBIT I
          BAP Appeal No. 25-1                   Docket No. 16   Filed: 03/19/2025   Page: 46 of 104
  From: Rylie Stegman rstegman@sltrib.com
Subject: Re: Publication of Notice of Trustee's Sale
   Date: January 11, 2024 at 10:08 AM
     To: Phil Ballif ballif@godfreytrial.com


        Hi Phil! Here is that affidavit!

        On Thu, Jan 11, 2024 at 9:06 AM Phil Ballif <ballif@godfreytrial.com>
        wrote:
          Rylie:

              The three publications should have been completed. Please send
            over the affidavit of publication along with the publications as well.

            Thank you!

            —Phil Ballif




              On Dec 21, 2023, at 11:42 AM, Rylie Stegman
              <rstegman@sltrib.com> wrote:

              You are all set with ad number SLT0025573! Shoot me an email
              after final publication and I will send over an affidavit!

              On Thu, Dec 21, 2023 at 10:52 AM Phil Ballif
              <ballif@godfreytrial.com> wrote:
                Let’s go ahead and start this Sunday, Dec. 24, 2023.
                Thanks!

                  —Phil Ballif
BAP Appeal No. 25-1    Docket No. 16   Filed: 03/19/2025   Page: 47 of 104

      On Dec 21, 2023, at 10:49 AM, Rylie Stegman
      <rstegman@sltrib.com> wrote:

      Hi Phil! I forgot to ask - would you prefer to start this Sunday or
      next? I see the dates in your original request and figured I
      would check before I send anything through!

      On Thu, Dec 21, 2023 at 10:48 AM Phil Ballif
      <ballif@godfreytrial.com> wrote:
        Riley:

          Thank you for getting back to me on this so quickly. I have
        reviewed and approved the proof, pricing, and dates for
        publication. Attached is the payment authorization form
        signed by Julie Godfrey of Godfrey Law, the law firm that I
        work for. Please forward a receipt for payment and a
        confirmation of the order for publication of the notice of
        trustee's sale. What documentation will you provide me with
        upon completion of the three publications?


        Thanks!

        —Phil Ballif




         On Dec 21, 2023, at 10:05 AM, Rylie Stegman
         <rstegman@sltrib.com> wrote:

         Good morning! Here is that proof/pricing! I have also
         attached our pre-pay form, which I will need back before
         10am tomorrow to run this Sunday. Thanks!

         On Wed, Dec 20, 2023 at 2:39 PM Phil Ballif
         <ballif@godfreytrial.com> wrote:
BAP Appeal No. 25-1     Docket No. 16   Filed: 03/19/2025   Page: 48 of 104
         <ballif@godfreytrial.com> wrote:
           I would like the SL Tribune to publish a Notice of
           Trustee’s Sale in accordance with Utah Code 57-1-25(1)
           (a). Here is the information requested by your website:


                      1. Name, address, and telephone number of
                         the billing party: Philip M. Ballif - 175 W.
                         Canyon Crest Road, Suite 104, Alpine, UT
                         84004 - (801) 871-8855.
                      2. The days you want the notice to publish: (a)
                         at least three times; (b) at least once a week for
                         three consecutive weeks; and (c) the last
                         publication to take place no later than January
                         19, 2024 - preferably on 12/31/23, 1/7/24, and
                         1/14/24.


              Attached are a PDF of the recorded Notice of Trustee’s
              Sale and a word document containing the text of the
              notice to be published.

              Please confirm receipt of this publication request, provide
              a price quote, and confirm dates for publication.

              Respectfully,



              —Phil Ballif




         --
 BAP Appeal No. 25-1                  Docket No. 16         Filed: 03/19/2025                               Page: 49 of 104
                            Rylie Stegman (She/Her)
                            Advertising Account Executive
                            M: (801) 237.2000

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                             PROOF OF PUBLICATION                   CUSTOMER’S COPY
                                                                                    NOTICE OF TRUSTEE’S SALE
     CUSTOMER NAME AND ADDRESS
     GODFREY LAW                                             The following described property will be sold at public auction to the highest
                                                             bidder, payable in lawful money of the United States at the time of sale, at
     PHILIP M. BALLIF                                        the main entrance of the Salt Lake County Third District Courthouse – West
     175 W CANYON CREST RD STE 104                           Jordan located at 8080 South Redwood Road, West Jordan, Utah 84088, on
                                                             January 30, 2024, at 11:00 A.M. of said day, for the purpose of foreclosing
     Alpine, UT 84004                                        a trust deed dated July 1, 2013, and executed by John Darger as trustor, in
     ballif@godfreytrial.com                                 favor of Auntitut Trust (properly spelled Auntie Tut Trust), which Trust Deed
                                                             was recorded on July 2, 2013, in Book 101155, Page 9409-9412, in the Re-
                                                             cords of Salt Lake County, State of Utah, Recorder’s Entry No. 11676867,
                                                PROOF OF PUBLICATION                                                          CUSTOMER’S COPY
BAP  Appeal
  CUSTOMER    No.
           NAME AND 25-1
                    ADDRESS                                        Docket No. 16                                   Filed: 03/19/2025            Page: 50 of 104
                                                                                                                              NOTICE OF TRUSTEE’S SALE

  GODFREY LAW                                                                                                         The following described property will be sold at public auction to the highest
                                                                                                                      bidder, payable in lawful money of the United States at the time of sale, at
  PHILIP M. BALLIF                                                                                                    the main entrance of the Salt Lake County Third District Courthouse – West
  175 W CANYON CREST RD STE 104                                                                                       Jordan located at 8080 South Redwood Road, West Jordan, Utah 84088, on
                                                                                                                      January 30, 2024, at 11:00 A.M. of said day, for the purpose of foreclosing
  Alpine, UT 84004                                                                                                    a trust deed dated July 1, 2013, and executed by John Darger as trustor, in
  ballif@godfreytrial.com                                                                                             favor of Auntitut Trust (properly spelled Auntie Tut Trust), which Trust Deed
                                                                                                                      was recorded on July 2, 2013, in Book 101155, Page 9409-9412, in the Re-
                                                                                                                      cords of Salt Lake County, State of Utah, Recorder’s Entry No. 11676867,
  ACCOUNT NUMBER                                                                                                      covering real property located at 13887 S. Lamont Lowell Circle, Herriman,
                                                                                                                      Utah 84096, more particularly described as:
  21077
                                                                                                                      PROPERTY DESCRIPTION:

  ACCOUNT NAME                                                                                                        LOT 114, HAMILTON FARMS PLANNED UNIT DEVELOPMENT PHASE 1
                                                                                                                      ACCORDING TO THE PLAT THEREOF AS RECORDED IN THE OFFICE OF
  GODFREY LAW                                                                                                         THE SALT LAKE COUNTY RECORDER.

                                                                                                                      TOGETHER WITH A RIGHT AND EASEMENT OF USE AND ENJOYMENT IN
   TELEPHONE                                                                                                          AND TO THE COMMON AREAS, DESCRIBED AND AS PROVIDED FOR IN
                                                                                                                      THE DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS,
  801-871-8855                                                                                                        AND ANY AMENDMENTS AND/OR SUPPLEMENTS THERETO.

   ORDER #                                                                                                            TAX SERIAL NO. 32-03-428-017

  SLT0025573                                                                                                          The current beneficiary of the trust deed is Janice Lee Jones, trustee of the
                                                                                                                      Auntie Tut Trust, and the record owner of the property as of the recording
                                                                                                                      of the Notice of Default is Ultimate Enterprise, LLC, whose manager and
   CUSTOMER REFERENCE NUMBER                                                                                          resident agent is the trustor of the Trust Deed, John R. Darger.

                                                                                                                      Bidders must tender to the trustee a $20,000.00 deposit at the sale and
                                                                                                                      the balance of the purchase price by 12:00 noon the day following the sale.
                                                                                                                      The deposit must be in the form of a bank or credit union cashier’s check or
   CAPTION                                                                                                            bank official check, payable to Philip M. Ballif, Esq., Substitute Trustee. The
  NOTICE OF TRUSTEE’S SALE The following described property will be sold at public auction to the high-               balance must be in the form of a wire transfer, bank or credit union cashier’s
                                                                                                                      check, bank official check, or U.S. Postal money order payable to Philip M.
  est bidder, payable in lawful money of the United States at the time of sale, at the main entrance of the Salt      Ballif, Esq., Substitute Trustee. A bank or credit union cashier’s check must
  Lake County Third District Courthouse – West Jordan located at 8080 South Redwood Road, West Jordan,                be pre-printed and clearly state that it is a cashier’s check. A bank official
                                                                                                                      check must be preprinted and clearly state that it is an official check. Cash
  Utah 84088, on January 30, 2024, at 11:00 A.M. of said day, for the purpose of foreclosing a trust deed dated       payments, personal checks, or trust checks are not accepted. A trustee’s
  July 1, 2013, and executed by John Darger as trustor, in favor of Auntitut Trust (properly spelled Auntie Tut       deed will be delivered within three business days after receipt of the amount
                                                                                                                      bid.
  Trust), which Trust Deed was recorded on July 2, 2013, in Book 101155, Page 9409-9412, in the Records of
  Salt Lake County, State of Utah, Recorder’s Entry No. 11676867, covering real property located at 13887 S.          Dated this 20th day of December 2023.

                                                                                                                                                                                     /s/ Philip M. Ballif
   TOTAL COST                                                                                                                                               PHILIP M. BALLIF, ESQ., Substitute Trustee
  $577.40                                                                                                                                                        175 W. Canyon Crest Road, Suite 104
                                                                                                                                                                                  Alpine, Utah 84004
                                                                                                                                                                                        (801) 871-8855
                                                                                                                      SLT0025573

                                                                                           AFFIDAVIT OF PUBLICATION
  AS THE SALT LAKE TRIBUNE, INC. LEGAL BOOKER, I CERTIFY THAT THE ATTACHED ADVERTISEMENT OF
  NOTICE OF TRUSTEE’S SALE The following described property will be sold at public auction to the highest bidder, payable in lawful money of the United States at the time of sale, at the main entrance of the Salt Lake
  County Third District Courthouse – West Jordan located at 8080 South Redwood Road, West Jordan, Utah 84088, on January 30, 2024, at 11:00 A.M. of said day, for the purpose of foreclosing a trust deed dated July 1, 2013,
  and executed by John Darger as trustor, in favor of Auntitut Trust (properly spelled Auntie Tut Trust), which Trust Deed was recorded on July 2, 2013, in Book 101155, Page 9409-9412, in the Records of Salt Lake County, State
  of Utah, Recorder’s Entry No. 11676867, covering real property located at 13887 S. FOR GODFREY LAW WAS PUBLISHED BY THE SALT LAKE TRIBUNE, INC., WEEKLY NEWSPAPER PRINTED IN THE ENGLISH
  LANGUAGE WITH GENERAL CIRCULATION IN UTAH, AND PUBLISHED IN SALT LAKE CITY, SALT LAKE COUNTY IN THE STATE OF UTAH. NOTICE IS ALSO POSTED ON UTAHLEGALS.COM ON THE
  SAME DAY AS THE FIRST NEWSPAPER PUBLICATION DATE AND REMAINS ON UTAHLEGALS.COM INDEFINITELY. COMPLIES WITH UTAH DIGITAL SIGNATURE ACT UTAH CODE 46-2-101; 46-3-104.
  PUBLISHED ON 12/24/2023, 12/31/2023, 01/07/2024

  DATE 01/11/2024                                                                                                         SIGNATURE

  STATE OF UTAH
  COUNTY OF SALT LAKE

  SUBSCRIBED AND SWORN TO BEFORE ME ON THIS 11th DAY OF JANUARY IN THE YEAR 2024
  BY Jordyn Gallegos




                                                                                                                                                                          NOTARY PUBLIC SIGNATURE
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                             Exhibit J
BAP Appeal No. 25-1   Docket No. 16   Filed: 03/19/2025   Page: 53 of 104
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                            EXHIBIT K
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                             Exhibit L
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                             Exhibit M
             BAP Appeal No. 25-1        Docket No. 16        Filed: 03/19/2025       Page: 61 of 104


From:               Lorenzo Lopez <lorenzolucianolopez@gmail.com>
Sent:               Tuesday, December 31, 2024 10:29 AM
To:                 Jeremy Sink
Subject:            Lorenzo Lopez Chapter 13 bankruptcy
Attachments:        lopez United States Bankruptcy Court cert.pdf; 5031037144325758201.jpg



CAUTION: EXTERNAL


Mr. Sink,

My name is Lorenzo Lopez. I co-own the real property located at 13887 Lamont Lowell Circle Herriman,
UT 84096 with Ultimate Enterprise LLC.

I filed a chapter 13 bankruptcy petition yesterday. The case was assigned case number 24-26705. I
attached a copy of the bankruptcy certificate.
The quit claim deed showing my ownership in the property is attached as well.

I need the regular monthly post petition mortgage payment on the property loan so I can start making the
regular monthly mortgage payment.

Please confirm that you have canceled the foreclosure sale.

Sincerely,

Lorenzo Lopez




                                                         1
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United States Bankruptcy Court
District of Utah

Notice of Bankruptcy Case Filing

A bankruptcy case concerning the debtor(s) listed below
was filed under Chapter 13 of the United States
Bankruptcy Code, entered on 12/30/2024 at 3:22 PM and
filed on 12/30/2024.

Lorenzo Luciano Lopez
13887 Lamont Lowell Circle
Herriman, UT 84096
385-474-1541
SSN / ITIN: xxx-xx-0681
aka Lorenzo L Lopez
aka Lorenzo Lopez


     The bankruptcy trustee is:


     Lon Jenkins tr
     Ch. 13 Trustee's Office
     465 South 400 East
     Suite 200
     Salt Lake City, UT 84111
     801-596-2884

The case was assigned case number 24-26705 to Judge Joel T. Marker.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other
actions against the debtor and the debtor's property. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a
stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you
may be penalized. Consult a lawyer to determine your rights in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are
available at our Internet home page http://www.utb.uscourts.gov/ or at the Clerk's Office, 350
South Main #301, Salt Lake City, UT 84101.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
forth important deadlines.

                                                             David A. Sime
                                                             Clerk, U.S. Bankruptcy Court
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                            EXHIBIT N
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Jeremy C. Sink (Utah Bar No. 9916)
Alyssa K. Nielsen (18066)
KIRTON MCCONKIE
36 South State Street, Suite 1900
Salt Lake City, Utah 84111
Telephone: (801) 239-3157
E-mail: jsink@kmclaw.com
Attorneys for Defendants


                   UNITED STATES BANKRUPTCY APPELLATE PANEL

                                   OF THE TENTH CIRCUIT


  In re:                                                    BAP Appeal No. 25-001

  LORENZO LUCIANO LOPEZ,                                       Bankr. No. 24-26705

                 Debtor.                                           Chapter 13




                           DECLARATION OF JEREMY C. SINK

       Jeremy C. Sink hereby declares and states as follows:

       1.     I am an attorney with Kirton McConkie and maintain an office at 36 South State

Street, Suite 1900, Salt Lake City, Utah 84111, telephone 801-239-3157.

       2.     I am in good standing with the State of Utah bar.

       3.     I was the substitute trustee for the Trust Deed securing recorded with the Salt

Lake County Recorder’s office as entry number 11676867 on July 2, 2013 related to the real

property located at 13887 S. Lamont Lowell Circle, Herriman, Utah (hereinafter the “Property”).

. A copy of the Deed of Trust is attached as Exhibit B to the Motion.

       4.     I attended the Trustee’s Sale on December 31, 2024.

       5.     John Darger and his wife were at the Trustee’s Sale.
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       6.      Mr. Darger was aware of an email from Mr. Lopez to me sent earlier on

December 31, 2024 and provided me copies of the attachments from the email (notice of the

bankruptcy filing by Lorenzo Luciano Lopez and a copy of the deed transferring the Property to

Mr. Lopez).

       7.      Mr. Lopez was not at the Trustee’s Sale on December 31, 2024.

       8.      At the December 31, 2024 Trustee’s Sale I continued the sale to January 24, 2025.

       I declare under penalty of perjury that the foregoing is true and correct.

       DATED this 19th day of March, 2025



                                                            /s/Jeremy C. Sink
                                                      Jeremy C. Sink


  CERTIFICATE OF SERVICE – BY NOTICE OF ELECTRONIC FILING (CM/ECF)

        I hereby certify that on March 19, 2025, I electronically filed the foregoing with the
United States Bankruptcy Appellatte Panel of the Tenth Circuit by using the CM/ECF system.
I further certify that the parties of record in this case, as identified below, are registered CM/
ECF users and will be served through the CM/ECF system:


   •   Lon Jenkins tr ecfmail@ch13ut.org, lneebling@ch13ut.org
   •   Jeremy C. Sink jsink@kmclaw.com, mcarlson@kmclaw.com
   •   United States Trustee USTPRegion19.SK.ECF@usdoj.gov

       By Mail:
       Johnathan Darger
       13887 Lamont Lowell Circle
       Herriman, UT 84096

       Lorenzo Luciano Lopez
       13887 Lamont Lowell Circle
       Herriman, UT 84096

       By Email:
       Johnathan Darger
       Jndarger1@gmail.com
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       Lorenzo Lopez
       lorenzolucianolopez@gmail.com



All other parties registered with CM/ECF and entitled to notice in this case:

None


                                                                        /S/ Margaret Carlson
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                            EXHIBIT O
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Order Prepared by:
Jeremy C. Sink (9916)
KIRTON MCCONKIE
36 South State Street, Suite 1900
Salt Lake City, UT 84111
Telephone: (801) 239-3157
Email: jsink@kmclaw.com
Attorneys for Creditor: Auntie Tut Trust


                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 In re:
                                                            Bankruptcy No. 24-26705
 LORENZO LUCIANO LOPEZ                                            (Chapter 13)

                       Debtor.                                Judge: Joel T. Marker
                                                              [Filed Electronically]



  ORDER GRANTING AUNTIE TUT TRUST’S MOTION FOR POST BANKRUPTCY

                        RELIEF FROM THE AUTOMATIC STAY

______________________________________________________________________________

          The Court has reviewed Auntie Tut Trust’s (“ATT”) Motion to Dismiss Pursuant

 to 11 U.S.C. 707 and Motion for Post Bankruptcy Relief From the Automatic Stay

 (“Motion), the Objection to Motion of Auntie Tut Trust for Dismissal Pursuant to 11


                                                 1
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U.S.C. 707 and For In Rem Relief Pursuant to 11 U.S.C. § 362(d)(4) (“Objection”) and

the Reply filed by ATT in support of its Motion. A hearing on the Motion was held

before the Honorable Joel T. Marker on January 14, 2025. Jeremy C. Sink of Kirton

McConkie appeared on behalf of ATT. Mr. Lopez did not appear.

         Based upon the representations contained in the Motion, Objection, Reply,

argument by counsel and good cause appearing the court made findings of fact and

conclusions of law and read the same into the record at the January 14, 2025 hearing.

Based upon the findings of fact and conclusions of law read into the record,

incorporated herein by reference, and having good cause appearing therefor, it is

hereby

         ORDERED that ATT’s motion for relief from the automatic stay is granted for

cause under 11 U.S.C. 362(d)(1) and the stay provided under 11 U.S.C. §362(a) is

hereby terminated as to the real property located at 13887 South Lamont Lowell Circle,

Herriman, UT 84096, which is more particularly described as follows:

          PROPERTY DESCRIPTION:

              LOT 114, HAMILTON FARMS PLANNED UNIT DEVELOPMENT PHASE 1
              ACCORDING TO THE PLAT THEREOF AS RECORDED IN THE OFFICE OF
              THE SALT LAKE COUNTY RECORDER.



              TOGETHER WITH A RIGHT AND EASEMENT OF USE AND ENJOYMENT IN
              AND TO THE COMMON AREAS, DESCRIBED AND AS PROVIDED FOR IN
              THE DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS,
              AND ANY AMENDMENTS AND/OR SUPPLEMENTS THERETO.



              TAX SERIAL NO. 32-03-428-017


                                             2
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        It is further ORDERED pursuant to 11 U.S.C. 362(d)(4) that the filing of a future

 bankruptcy petition by any individual or entity will not extend the protection of the

 automatic stay of 11 U.S.C. 362(a) to the real property located at 13887 Lamont

 Lowell Circle, Herriman, UT 84096 for a period of two years from the date of entry of

 this Order;

        It is further ORDERED that ATT is to record a copy of this signed order with

 the Salt Lake County Recorder’s office to give notice of this Order to any subsequent

 owner of the Property; and .

        It is further ORDERED that cause exists for waiver of the 14-day stay period

 under Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure.

                                        SERVICE LIST
       I hereby certify that a true and correct copy of the foregoing was served to the following
via the court’s ECF system on the date the order was signed:


   •   Lon Jenkins tr ecfmail@ch13ut.org, lneebling@ch13ut.org
   •   Jeremy C. Sink jsink@kmclaw.com, mcarlson@kmclaw.com
   •   United States Trustee USTPRegion19.SK.ECF@usdoj.gov


   I hereby further certify that the above reply was mailed to Lorenzo Luciano Lopez and
Johnathan Ryan Darger at the following address:

   Lorenzo Lopez
   John Darger
   13887 Lamont Lowell Circle
   Herriman, UT 84096

                                             Clerk of Court
                                             _ _____________

                                                3
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                            EXHIBIT P
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                            EXHIBIT Q
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                            EXHIBIT R
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                IN THE UNITED STATES BANKRUPTCY COURT

                        FOR THE DISTRICT OF UTAH




     In re:                      )
                                 )
     JESSE LUCIANO LOPEZ,        ) Bankruptcy No. 24-26705
                                 ) Chapter 13
                      Debtor.    )
     ____________________________)




                 BEFORE THE HONORABLE JOEL T. MARKER


                              January 14, 2025




                                                                            1
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     APPEARANCES OF COUNSEL:

     For Auntie Tut Trust:              Jeremy C. Sink
                                        Attorney at Law
                                        Kirton McConkie
                                        36 South State Street
                                        Salt Lake City, Utah 84111

     For Chapter 13                     Katherine Kang
     Trustee:                           Attorney at Law
                                        U.S. Trustee's Office
                                        405 S. Main Street
                                        Suite 300
                                        Salt Lake City, Utah 84111




     Court Reporter:

                      Laura W. Robinson, FCRR, RPR, CSR
                             351 South West Temple
                             3.303 U.S. Courthouse
                          Salt Lake City, Utah 84101
                                 (801)201-9731


                                                                               2
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 1        Salt Lake City, Utah                                 January 14, 2025

 2                                     * * * * *

 3                     THE COURT:      Good afternoon.          We've got one

 4        matter on the 2:00 calendar in the Chapter 13 case of

 5        Lorenzo Lopez, Case No. 24-26705.              Could I get

 6        appearances please starting with the movant?

 7                     MR. SINK:     Your Honor, Jeremy Sink of Kirton

 8        McConkie on behalf of creditor Auntie Tut Trust.

 9                     THE COURT:      Thank you.       I'll note for the

10        record Mr. Lopez filed his Chapter 13 petition

11        without the assistance of an attorney and he is not

12        making an appearance at this hearing.

13                     Go ahead, Mr. Sink.

14                     MR. SINK:     Your Honor, this is the time and

15        place set for hearing Auntie Tut's motion for

16        dismissal of this case and for in rem relief for

17        relief from the automatic stay from subsequent

18        bankruptcy filings related to the piece of property

19        that Auntie Tut Trust has a lien against.

20                     We've -- I think our pleadings speak pretty

21        plainly as to what has occurred here.                 As you know,

22        this is the third bankruptcy that has been filed

23        essentially hours before three consecutive

24        foreclosure sales that my client has attempted to

25        consummate related to this property.


                                                                                  3
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 1                     And the disturbing part of this current

 2        bankruptcy is noted in our pleadings where the

 3        obligor on this note appears to have been the one who

 4        hand-delivered the petition to the bankruptcy court

 5        for the filing of this immediate case.                We're not

 6        sure if Lorenzo Luciano Lopez even exists.                 But, the

 7        pattern has been shown.

 8                     We filed a notice of default, we notice up a

 9        trustee's sale, and then on the eve of that trustee's

10        sale the bankruptcy is filed.            And under none of

11        those three bankruptcy cases has there been any

12        attempt to seek refuge under the Bankruptcy Code.                      No

13        attempt to file statements and schedules.                 No attempt

14        to attend a 341 Meeting.          No attempt to essentially

15        propose a Plan of Reorganization.

16                     In the immediate case in response to us

17        filing this motion, as you have seen, a motion to

18        dismiss the case was filed.           And we don't have any

19        problems with that motion to dismiss but we think

20        that this court has jurisdiction to enter -- to grant

21        our motion before dismissing this case under Section

22        1307 of the Bankruptcy Code.

23                     We believe that the proof is in the pudding

24        here especially given the fact that although a

25        pleading was filed, no debtor appeared today.                   Again,


                                                                                      4
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 1        I have my suspicions that that debtor doesn't exist.

 2        I provided to the court a recording of the

 3        conversation between me and Mr. Darger at the

 4        foreclosure sale at the beginning of this bankruptcy.

 5        There was no Mr. Lopez there.            He kept referring me

 6        to Mr. Lopez as if he did exist, but he is the one

 7        who was there and referenced the e-mail that was

 8        allegedly from Mr. Lopez.          He wasn't copied on that

 9        e-mail.     I gave you a copy of that e-mail.              All

10        indications are that this bankruptcy was filed by

11        Mr. Darger for the sole purpose of thwarting our

12        collection efforts.

13                     We believe that an in rem order is

14        appropriate as to the property prohibiting the -- or

15        essentially making any subsequent bankruptcies not

16        subject to the automatic stay as to this particular

17        piece of property.

18                     We think the court can do that.              I have

19        provided two courts in my reply memorandum that I

20        filed today after their objection.               Those two courts

21        are the In re: Roben case and another case cited

22        there.    We believe this court does have authority

23        under both Section 362 and Section 105 to enter an in

24        rem order granting us that relief.

25                     We believe that the -- what the court did in


                                                                                 5
     BAP Appeal No. 25-1   Docket No. 16    Filed: 03/19/2025    Page: 92 of 104
 1        the In re: Roben case is appropriate.                  And that is

 2        that once the in rem order is entered, then I would

 3        be responsible for recording that order with the Salt

 4        Lake County Recorder's Office so as to give any

 5        subsequent owners of the property notice of this

 6        order that we think is appropriate to be entered.

 7                     And if the court doesn't have any questions

 8        for me, I would submit the rest on the pleadings.

 9                     THE COURT:      Thank you.        I see we have an

10        appearance by counsel for the Chapter 13 Trustee.

11        Ms. Kang, do you have anything you wish to say?

12                     MS. KANG:     No, Your Honor.            We don't have

13        any -- none of the schedules or any of the documents

14        relating to petition have been filed or have been

15        provided to us so we don't know what's going on in

16        this particular case.            So with that, that's all I

17        have to contribute, Your Honor.

18                     THE COURT:      Thank you.        All right.       I'll

19        note at the outset that on a motion for relief under

20        Section 362(d) of the Bankruptcy Code, Section 362(g)

21        provides that at any hearing on a motion for relief

22        under 362(d) the party requesting such relief has a

23        burden of proof on the issue of the debtor's equity

24        in the property which is not an issue in this case.

25                     And two, the party opposing such relief has


                                                                                   6
     BAP Appeal No. 25-1   Docket No. 16     Filed: 03/19/2025   Page: 93 of 104
 1        a burden of proof on all other issues.

 2                     Mr. Lopez, again, has not appeared at this

 3        hearing --

 4                     MR. DARGER:         I am here, Your Honor.           My name

 5        is John Darger and I'm a third-party and I filed -- I

 6        would like you to grant for me to intervene.                    I filed

 7        papers to intervene.

 8                     THE COURT:      I'm sorry, Mr. Darger, you're

 9        not the debtor in this case, correct?

10                     MR. DARGER:         I have an interest in the

11        property, Your Honor.

12                     THE COURT:      All right.         You're not the

13        debtor in this case and you're not an attorney.

14                     MR. DARGER:         I'm not a third-party and I

15        filed papers that you will be able to pull up and

16        see.

17                     THE COURT:      All right.         Well, we'll note

18        Mr. Darger's appearance today.               As I was saying, the

19        debtor has the burden of proof on all other issues

20        and Mr. Lopez is not here to offer any evidence in

21        support of his objection to the motion.

22                     So the matter before me is a motion to

23        dismiss and proposed bankruptcy relief from stay

24        filed by secured creditor Auntie Tut Trust.                    This

25        case, and I'll take judicial notice of Mr. Darger's


                                                                                      7
     BAP Appeal No. 25-1   Docket No. 16   Filed: 03/19/2025   Page: 94 of 104
 1        prior two cases that I'll describe in a minute, this

 2        case is a third in a series of Chapter 13 cases filed

 3        over the past 12 months involving real property

 4        located at 13887 South Lamont Lowell Circle in

 5        Herriman, Utah.

 6                     The first case, case number 24-20354, was

 7        filed by Jonathan Darger on January 29th, 2024, and

 8        was dismissed on April 9th, after Mr. Darger failed

 9        to file any of the required documents by the court

10        extended deadline of April 5th.             Apart from a list of

11        creditors and a Schedule A/B that listed a potential

12        $1 million wrongful foreclosure slash fraud claim

13        against the movant Auntie Tut Trust but no real

14        property owned by Mr. Darger.

15                     Mr. Darger filed a second case on June 4th

16        of 2024, 24-22721, that largely mirrored the first

17        case.    He again filed only a list of creditors and

18        the same Schedule A/B and that case was dismissed on

19        July 25th of 2024 for Mr. Darger's failure to timely

20        file any other required documents.

21                     Then, since no stay would go into effect if

22        Mr. Darger filed a third case before January 30th of

23        this year, 2025, instead Mr. Lopez filed the present

24        case 24-26705 about 30 minutes after being

25        quitclaimed the joint interest in the property.


                                                                                 8
     BAP Appeal No. 25-1   Docket No. 16   Filed: 03/19/2025   Page: 95 of 104
 1                     In this case, Mr. Lopez didn't even bother

 2        to file a list of creditors which was due by

 3        January 2nd per Federal Bankruptcy Procedure

 4        1007(a)(1), and Local Rule 1007-1(b), the latter of

 5        which also permits the court to dismiss the case sua

 6        sponte if the deadline isn't met.

 7                     Mr. Lopez also didn't file any of the other

 8        documents listed in the court's December 31st

 9        deficiency notice.        Those were due yesterday

10        January 13th.      The running theme in all three cases,

11        each of which was filed on the day before a

12        foreclosure sale of the Herriman property, is

13        Mr. Darger's dispute with Auntie Tut which he accuses

14        of malicious and fraudulent conduct to steal the

15        equity in his house largely by calculating balance

16        due based on compound or default interest rather than

17        simple interest.

18                     As indicated in the exhibits attached to the

19        movant's motion, this saga began with a 5-year

20        $320,000 note executed by Mr. Darger and Auntie Tut

21        in July of 2013 accompanied by a Deed of Trust for

22        the Herriman property.

23                     Mr. Darger then transferred the property by

24        a warranty deed to Ultimate Estates, LLC, in August

25        of 2013.     Ultimate Estates, through Mr. Darger as


                                                                                 9
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 1        owner, transferred the property by warranty deed to

 2        Ultimate Enterprise, LLC, in October of 2018 and

 3        Ultimate Enterprise, through Mr. Darger as manager,

 4        quitclaimed its interest to both itself and Mr. Lopez

 5        on December 30th of 2024 about 30 minutes before this

 6        Chapter 13 case was filed.

 7                     Mr. Lopez sent an e-mail to Auntie Tut's

 8        counsel, Mr. Sink, on December 31st at about

 9        30 minutes before the foreclosure sale with an odd

10        request for the post-petition mortgage payment amount

11        which echoed a similar e-mail from Mr. Darger to

12        Mr. Sink in June, although Mr. Lopez has no liability

13        on the note.      Only Mr. Darger and his wife attended

14        the foreclosure sale which Mr. Sink postponed to

15        January 24th, 2025, in accordance with Utah Code

16        57-1-27(2)(c) and Mr. Darger apparently declined to

17        discuss his connection with Mr. Lopez at the sale.

18                     And Mr. Darger, who hand delivered

19        Mr. Lopez's bankruptcy petition and accompanying

20        documents for filing with the court, holds himself

21        out to be a foreclosure prevention specialist in his

22        LinkedIn profile.

23                     Although the motion filed by Auntie Tut is

24        styled as both as a motion to dismiss and motion for

25        stay relief, the stay relief request makes up the


                                                                                 10
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 1        bulk of the argument.            Auntie Tut asked for both

 2        regular stay relief under Section 362(d)(1) for

 3        cause, and also for relief under Section 362(d)(4)(B)

 4        based on a scheme to delay, hinder, or defraud

 5        creditors that involves multiple bankruptcy filings

 6        affecting such real property.             Which if granted,

 7        functions as in rem relief against the property for

 8        two years upon proper recording of the court's order.

 9                     A stay relief motion is a summary

10        proceeding.      So at a stay hearing, the court merely

11        determines whether the movant has a colorable claim

12        that is a facially valid security interest.                   It then

13        should consider whether the objector has raised a

14        colorable defense that is not -- that not merely

15        offsets the movant's claim, but actually would defeat

16        the movant's claim.

17                     In this context the bankruptcy court limits

18        its consideration of defenses to those that strike at

19        the heart of the creditor's lien, or that bear on the

20        debtor's equity in the property.               And I am referring

21        to the Utah Aircraft Alliance case from Judge Thurman

22        reported at 342 B.R. 327.            That's from the Tenth

23        Circuit Bankruptcy Appellate Panel, excuse me, 2006.

24                     Just before the clerk's office closed

25        yesterday evening, Mr. Lopez filed a motion and


                                                                                  11
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 1        proposed order dismissing the case, and an objection

 2        to Auntie Tut's motion that raises four arguments.

 3                     One, the court must dismiss the case

 4        immediately under Section 1307(b) before ruling on

 5        Auntie Tut's motion.         Two, the court must abstain in

 6        favor of the state court's deciding a mortgage

 7        dispute.     Three, a request for in rem relief requires

 8        an adversary proceeding, according to Mr. Lopez.                        And

 9        four, Auntie Tut's own conduct regarding mortgage

10        negates any finding of a scheme to hinder, delay, or

11        defraud.

12                     And Auntie Tut filed a reply several hours

13        ago.    None of Mr. Lopez's arguments are well taken.

14        Here, it's clear from the record of all three cases

15        that the only purpose for the case is for us to stop

16        the foreclosure sales by Auntie Tut.                 Almost no

17        required documents were filed in any of the cases,

18        and no meaningful efforts were undertaken to

19        legitimately prosecute any of the cases.

20                     Mr. Lopez's argument that Auntie Tut --

21        Auntie Tut's prompt filing of the motion somehow

22        prevented Mr. Lopez from filing required documents is

23        frivolous and it echoes similar arguments from

24        Mr. Darger in his prior cases as to why he couldn't

25        timely file his own required documents.


                                                                                        12
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 1                     All three cases were filed on the eve of

 2        foreclosure, and Mr. Lopez was a legal stranger to

 3        the property until receiving a quitclaimed interest

 4        about 30 minutes before he filed his Chapter 13 case

 5        which was designed again to get around the fact that

 6        Mr. Darger had already exhausted his two automatic

 7        stays within the 12-month period under Section

 8        362(c), even though he scheduled no real property in

 9        either of his cases, having long ago transferred

10        ownership of the Herriman property from himself to

11        Ultimate Estates and then Ultimate Enterprise.

12                     The note matured in 2018 but remains unpaid,

13        and no payments of any kind have been made since

14        January of 2023.       And despite the objection's general

15        denials of the motion's factual allegations, mostly

16        for alleged lack of information, the objection is

17        neither verified nor otherwise supported by any facts

18        or documents.

19                     Auntie Tut has demonstrated its colorable

20        claim and even Mr. Darger and Mr. Lopez seem to admit

21        that Auntie Tut is a legitimate secured creditor by

22        asking Mr. Sink for ongoing payment amounts despite

23        the disputes about the amounts owed on the mortgage.

24                     But this is not the proper forum for

25        addressing those disputes.           And even with in rem stay


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 1        relief, any appropriate party in interest, whether

 2        that's Mr. Darger, Mr. Lopez, or Ultimate Enterprise,

 3        can pursue any available relief in state court of

 4        competent jurisdiction.            Mr. Lopez also says as much

 5        in two of the objections for arguments by proposing

 6        that the state court system is a proper forum to

 7        resolve the party's disputes.              And Mr. Lopez cites to

 8        numerous decisions before the Bankruptcy Code was

 9        amended in 2005, but no adversary proceeding is

10        required to grant the stay relief contemplated by

11        Section 362(d)(4) which can instead be pursued by a

12        motion as contested matter.             And you can refer to

13        Bankruptcy Rule 7001, the Advisory Committee Notes,

14        and also the cases of In re: Van Ness, 399 B.R. 897,

15        and that's from the Bankruptcy Court for the Eastern

16        District of California in 2009.

17                     I'll find, accordingly, that this Chapter 7

18        case was filed by Mr. Lopez in bad faith.                   And it's

19        part of a scheme involving multiple bankruptcy

20        filings to at least hinder or delay creditors,

21        including Auntie Tut.            So stay relief under both

22        Section 362(d)(1) and Section 362(d)(4)(B) will be

23        granted as will Auntie Tut's request to waive the

24        14-day stay --

25                     MR. DARGER:         Your Honor --


                                                                                   14
     BAP Appeal No. 25-1   Docket No. 16   Filed: 03/19/2025   Page: 101 of 104
 1                     THE COURT:      -- of Federal Rule 4001(a)(4) to

 2        allow the postponed January 24th foreclosure sale to

 3        go forward if no intervening action is taken at state

 4        court.

 5                     Auntie Tut also requested dismissal of the

 6        case under Section 707(b)(3) for bad faith filing,

 7        but that section doesn't apply in this Chapter 13

 8        case.    Having said that, Section 1307(c) includes bad

 9        faith as an unlisted basis for dismissal on top of

10        the court's authority under Local Rule 1007(1)(b) to

11        dismiss the case sua sponte for Mr. Lopez's failure

12        to timely file the list of creditors, and Mr. Lopez

13        has now requested dismissal of the case as well.

14                     But even assuming Mr. Lopez's absolute right

15        to dismiss under 1307(b), that dismissal isn't

16        required to be either immediate or unconditional.

17        Courts have long recognized the authority at minimum

18        under Section 349(a) of the Bankruptcy Code to impose

19        strings on the dismissal to prevent abuse, and

20        address bad faith conduct which the court has already

21        found to exist.

22                     Accordingly, this case will be dismissed as

23        requested by both Mr. Lopez and Auntie Tut, but the

24        dismissal will not be entered until after entry of

25        the stay of relief order.


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     BAP Appeal No. 25-1   Docket No. 16    Filed: 03/19/2025   Page: 102 of 104
 1                     So Mr. Sink, I'm going to ask you to prepare

 2        the order granting relief from stay under Section

 3        362(d)(1) and (d)(4).            And once that has been

 4        entered, the court will enter its own motion

 5        dismissing the case.

 6                     MR. SINK:      Understood, Your Honor.             Thank

 7        you.    I would make one correction to the record that

 8        you just read in.        You referred to the immediate case

 9        as a Chapter 7 case and I would just say that it was

10        a Chapter 13 case not the Chapter 7.

11                     THE COURT:      Thank you.        Anything else?

12                     MR. SINK:      Thank you, Your Honor.            I'll

13        prepare that order and I'll upload it.                 Do you want

14        me to circulate that order to the e-mail that I have

15        for Mr. Lopez?

16                     THE COURT:      He hasn't appeared here today

17        and I'll be sure to review the order so that it

18        correctly reflects my ruling.

19                     MR. SINK:      Okay.     Thank you, Your Honor,

20        I'll get that submitted in the next day or two.

21                     THE COURT:      All right.        Thank you.       The

22        court's in recess.

23                     MR. DARGER:         Your Honor, so you did grant my

24        order to intervene, correct?

25                     THE COURT:      I'm sorry, who is speaking?


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     BAP Appeal No. 25-1   Docket No. 16    Filed: 03/19/2025   Page: 103 of 104
 1                     MR. DARGER:         This is John Darger.

 2                     THE COURT:      Mr. Darger, I haven't seen any

 3        motion.

 4                     THE CLERK:      They were filed with the court

 5        at 2:03 p.m. They're not on the docket but in user

 6        file sharing.

 7                     THE COURT:      The court's in recess.             Thank

 8        you.

 9                     (Hearing concluded.)

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 1                          REPORTER'S CERTIFICATION

 2

 3                     I hereby certify that the foregoing

 4        transcript was taken from a tape recording

 5        stenographically to the best of my ability to hear

 6        and understand said tape recording, that my said

 7        stenographic notes were thereafter transcribed into

 8        typewriting at my direction.

 9                     Dated this 14th day of February, 2025.

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12                                 ___Laura W. Robinson________

13                                     Laura W. Robinson

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